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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  CENTRAL DIVISION
                                     LEXINGTON
 RON MILLER,                                      )
                                                  )
         Plaintiff,                               )        Civil No. 5:22-cv-00208-GFVT
                                                  )
 v.                                               )
                                                  )
 ALCO MANAGEMENT, INC. ET AL.,                    )                    ORDER
                                                  )
         Defendants.                              )

                                      *** *** *** ***
       Ron Miller is a resident of Georgetown, Kentucky. Proceeding without a lawyer, Miller

recently filed a civil rights complaint, along with a motion for leave to proceed in forma pauperis.

[R. 1; R. 2.] Those submissions are now pending before this Court.

       As an initial matter, Miller’s fee motion indicates that he lacks sufficient assets or income

to pay the filing and administrative fees in this case. [See R. 2.] Therefore, the Court will grant

Miller leave to proceed as a pauper and waive the applicable fees. See District Court

Miscellaneous Fee Schedule, § 14.

       That said, the Court has also conducted an initial screening of Miller’s complaint

pursuant to 28 U.S.C. § 1915(e)(2) and will dismiss it without prejudice. That is because his

pleading, as presently drafted, is difficult to follow and, at a minimum, inconsistent with the

Federal Rules of Civil Procedure. Indeed, Miller’s current complaint does not contain “a short

and plain statement” of his claims and fails to include allegations that are “simple, concise, and

direct.” Fed. R. Civ. P. 8(a)(2), (d)(1). Instead, Miller’s complaint spans dozens of hard-to-

follow pages that often contain vague allegations, superfluous details, and confusing claims for

relief, notwithstanding the fact that the complaint’s paragraphs are indeed numbered. [See R. 1.]

Miller also lists numerous defendants (at least some of whom have aliases and are being sued in
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multiple capacities), suggests that many of them were “colluding” with one another, and claims

that they ran afoul of various sources of law, including but not limited to multiple constitutional

and statutory provisions. [See id.] Simply put, Miller’s complaint is hard to track.

       Given these problems, the Court will dismiss Miller’s current complaint. That said, the

Court’s dismissal will be without prejudice. This means that Miller may start a new civil

action regarding the matters he raised, and the Court will send him forms he can use to do so.

Specifically, the Court will send Miller two complaint forms (an E.D. Ky. 520 Civil Rights

Complaint Form and a Pro Se 1 Complaint Form), either of which he can use to file a new

complaint and thus start a new civil action. While Miller correctly noted that he may draft his

own complaint [see R. 1 at 1], he may find these Court-approved complaint forms to be helpful,

and he should certainly draft any new pleading consistent with the Pro Se 1 Form’s instructions,

which direct him to “write a short and plain statement of the claim” and “state as briefly as

possible the facts” showing he is entitled to relief. Finally, the Court will also send Miller a

Court-approved in forma pauperis form (an E.D. Ky. 519 Form).

       Accordingly, it is ORDERED as follows:

       1. Miller’s present motion for leave to proceed in forma pauperis [R. 2] is GRANTED.

           However, his current complaint [R. 1] is DISMISSED without prejudice, and this

           specific civil action is STRICKEN from the docket.

       2. That said, the Clerk’s Office is directed to send Miller the following blank forms:

               a. An E.D. Ky. 520 Civil Rights Complaint Form;

               b. a Pro Se 1 Complaint for a Civil Case Form, which is available at

                   https://www.uscourts.gov/forms/pro-se-forms/complaint-civil-case; and

               c. an E.D. Ky. 519 Form.


                                                  2
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    3. While this specific civil case is now closed, Miller may start a new civil action

        regarding the matters he raised. To do so, Miller must complete and file a new

        complaint, and he may choose to utilize one of the Court-approved forms provided

        (either the E.D. Ky. 520 Form or the Pro Se 1 Form). Miller must also either pay the

        applicable filing and administrative fees for his new civil case, or he must complete

        and file the E.D. Ky. 519 Form, which is the Court’s approved in forma pauperis form.



    This the 16th day of August, 2022.




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